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Print Name: Shua Tilahun
Sid#: 15493938
       OSP
      2605 State Street
      Salem, OR 97310

                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON




     Shua Tilahun,                           )
                                             )            Civil Action No. 6:23-cv-00060-AR
                      plaintiff,             )
                                                                           --------
                                             )
v.                                           )              civil 1983 lawsuit
                                             )
                                             )
Oregon Department of corrections,            )
Sgt. Bernhardt, Cory Furey,                  )
chaplain StollNecker, chaplain Thompson,     )              Jury trial demanded
chaplain boreal, chaplain young,             )
Colette peters, Heidi Stewart, Jamie Bremen, )
Mark Knuth, Brandon Kelly, Cindy Booth,      )
 N athaline frener, R polk, Kelly Carlson,   )
Toombs,                                      )
                                             )
                       defendants.           )
                                             )
      _______________ )
     I.    Parties to this complaint


           A. The defendant(s)

               Provide the information below for each defendant named in complaint, whether
               the defendant is an individual, a government agency, an organization, or a
               corporation. Make sure that the defendant(s) listed below are identical to those
               contained in the above caption. For an individual defendant, include the person's
               job or title (if known) and check whether you are bringing this complaint against
               them in their individual capacity or official capacity, or both. Attach additional
               pages if needed.




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              Defendant No. 1

                      Name            OREGON DEPARTMENT OF CORRECTIONS,



           Defendant No. 2

                      Name              Bernhardt
                      Job or title ( if known)         Sgt.
                      Employer             ODOC
                      Address           2605 State Street
                                        Salem OR 97310
                                 D individual capacity         D official capacity


              Defendant No. 3

                      Name               Corey Fhuere
                      Job or title       superintendent
                      Employer               ODOC

                      Address         OSP 2605 State Street
                                      Salem Oregon 97310

                                 D individual capacity         D official capacity

               Defendant No. 4

                      Name            Stallneker
                      Job or title    chaplain services
                      Employer        ODOC
                      Address         OSP 2605 State Street
                                      Salem Oregon 97310

                                 D individual capacity         D official capacity




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               Defendant No. 5

                      Name            Thompson
                      Job or title    chaplain services
                      Employer        ODOC
                      Address         OSP 2605 State Street
                                      Salem Oregon 97310


                 Defendant No. 6

                      Name            boreeo
                      Job or title    chaplain administration
                      Employer        ODOC
                      Address         3723 Fairview industrial Park Southeast
                                       Salem, OR 97302
                                 D   individual capacity    D official capacity

                 Defendant No. 7

                      Name                   young
                      Job or title    chaplain administration
                      Employer        ODOC
                      Address         3723 Fairview industrial Park Southeast
                                       Salem, OR 97302

                                 D individual capacity      D official capacity
               Defendant No. 8

                      Name              Colette peters
                      Job or title ( if known) former director of ODOC
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 97302

                                 D individual capacity      D official capacity

               Defendant No. 9

                      Name                    Heidi Stewart
                      Job or title ( if known)
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast




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                                      Salem, OR 9730

                               D individual capacity        D official capacity

                Defendant No. 9

                      Name                     Jamie Breymen
                      Job or title ( if known)
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 9730

                               D individual capacity       , D official capacity


                      Name                     Mark Nooth
                      Job or title ( if known)
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 9730

                               D individual capacity        D official capacity
                      Name                     Brandon Kelly
                      Job or title ( if known) former superintendent of OSP
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 9730

                               D individual capacity        D official capacity
                      Name                     Cindy Booth
                      Job or title ( if known)
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 9730

                               D individual capacity        D official capacity

                      Name                     Nathaline Frener
                      Job or title ( if known)
                      Employer          Oregon Department of Corrections
                      Address           3723 Fairview industrial Park Southeast
                                         Salem, OR 9730




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                                D individual capacity        D official capacity



                                         Name                  R. Polk
                       Job or title ( if known)        law library coordinator
                       Employer          Oregon Department of Corrections
                       Address           3723 Fairview industrial Park Southeast
                                          Salem, OR 9730

                                D individual capacity        D official capacity

                                         Name                  Kelly Carlson
                       Job or title ( if known)        law library coordinator
                       Employer          Oregon Department of Corrections
                       Address           3723 Fairview industrial Park Southeast
                                          Salem, OR 9730

                                D individual capacity        D official capacity
                                         Name                  Mr. Toombs
                       Job or title ( if known)        lead mailroom worker
                       Employer          Oregon Department of Corrections
                       Address           3723 Fairview industrial Park Southeast
                                          Salem, OR 9730

                                D individual capacity        D official capacity



     II.    Basis for jurisdiction

Under 42 USC§ 1983, you may sue state or local officials for the "deprivation of any right,
privileges, or immunities secured by the Constitution and [federal laws]." Under Bivens V.
SIX unknown named agents of Federal Bureau of narcotics, 403 U.S. 388 (1971 ), you may
sue federal officials for the violation of certain constitutional rights.

            A. Are you bringing suit against (check all that apply):




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               D state or local officials (a § 1983)

III. prisoner status

     Indicate whether you are a prisoner or other confined person as follows (check if apply):

D    convicted and sentenced a prisoner


IV. Statement of claim
State as briefly as possible the facts of your case. Describe how each defendant was personally
involved in the alleged wrongful action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events
giving rise to your claims. Do not cite any cases or statues. If more than one claim is asserted,
number each claim and right short and plain statement of each claim in a separate paragraph.
Attach additional pages if needed.


     A. what date and approximate time did the events give rise to your claim(s) occur?


     On or about 3-16-2022 Sgt. Bernhardt waited till I left the chow hall and called me to him.
     He told me to remove my religious head cover. I was confused by him directing me to
     remove it but I complied. He told me I'm not allowed to wear and that he didn't want to see
     me wear it again. I explained to them I was allowed to wear it. I told him that I had a
     religious service call out on 3-18-2022 and I would check with the chaplains to figure out
     what he's talking about because he told me that the chaplain Stallneker told him I wasn't
     allowed to wear it.

     B. what date and approximate time did the events give rise to your claim(s) occur?
        on or about 3-18-2022 I went up to my religious service and a few minutes before
        starting I spoke with chaplain Stallneker and explained what happened then I asked him
        what Sgt. Bernhardt was talking. Chaplain Stallneker told me he never sent Sgt.
        Bernhardt any emails saying couldn't wear religious head coverings in various colors,
        and he told me to leave his office and threatened to give me a DR for being in the office
        area asking him if what the Sgt. Said was true.


      C. what date and approximate time did the events give rise to your claim(s) occur?

         on or about 3-18-2022 after speaking with chaplain Stallneker I walked next door to
      chaplain Thompson's office asking her the same thing. She said she didn't know what I
      was talking about. I showed her religious head covering that was approved through security
      and provided to me by her, then I explained that if she receives an email from the Sgt. Or
      anyone else this is what they were talking this being the religious head covering.




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     Later on down the road before I had my DR hearing postponed she told me ifl put my
     name on a list requesting a white Kofi/religious head covering she can make my DR go
     away. I refused to put my name on the list and walked away.


     D. what date and approximate time did the events give rise to your claim(s) occur?

           On or about 5 - 31 - 2022 I wasn't allowed to mail out my clemency because I'm
     indigent so I couldn't get indigent legal envelopes to mail out my clemency because for
     some reason mailing out my clemency this time didn't constitute legal mail unlike it did in
     the past.
     E. what date and approximate time did the events give rise to your claim(s) occur?

           On or about 1 - 17 - 2021 Ms. Polk refused to give me access to my law library flash
     drive or proof of my request receipt so as to attempt to subvert my ability to exhaust my
     due process.
     F. what date and approximate time did the events give rise to your claim(s) occur?

     On or about 3 - 17 - 2021 my legal mail was and is being opened and held and labeled as
     not legal mail by the mailroom. Including but not limited to mail coming in from the
     federal courthouse.

     G. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)


     on or about 3-19-2022 at about 5:30 PM in the chow hall I approached the Sgt. To ensure
     he was aware that I spoke to both of the chaplains Stallneker, and Thompson. I explained to
     him that both of them had told me they didn't know what he was talking about and that I
     was going to continue to wear my religious head covering is in observance to my religion.
     He told me I couldn't wear it and that he didn't care what the chaplains had to say because
     he saying I can't wear. I explained to them that he doesn't determine what I can or can't
     wear or how I do or don't practice my religion. He told me I needed to take off my
     religious head covering. He said I'm telling you you need to take off your head covering.
     He said he doesn't care whether I am observing my religion are not I need to remove my
     religious head covering. I explained to him ifhe wants me to remove my religious head
     covering their needs documentation that he's telling me to stop observing my religious
     practices because of his opinion on how it should be done. I told him I will only remove it
     if he's going to give me a DR so there's documentation that he's telling me something so
     flagrantly out of line and unconstitutional. He smiled and said be more than happy to give
     you a DR I'm giving you direct order to remove your religious head covering. I asked him
     so you're going to give me a DR ifl remove my religious head covering? He said yes I'll
     give you do your. So I removed my religious head covering walked off and waited for DR.
     The DR didn't come until after I filled out a grievance.




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     H. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)

     Between the time of 3-18-2022 and 5-9-2022 I sent kites to chaplain administration boreeo
     trying to address this issue and the fact that I received a DR for something that had already
     been established within the Department of Corrections is not being a problem and settled
     out of court in a previous case. I received no response despite the fact that I had explained
     that I was aware of multiple memos about the topic of religious headwear and the
     inconsistencies in the memos and the failure to observe the rights of inmates.



     I. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)

     Between the time of 3-18-2022 and 5-9-2022 I sent kites to chaplain administration young
     trying to address this issue and the fact that I received a DR for something that had already
     been established within the Department of Corrections is not being a problem and settled
     out of court in a previous case. I received no response despite the fact that I had explained
     that I was aware of multiple memos about the topic of religious headwear and the
     inconsistencies in the memos and the failure to observe the rights of inmates.

     J. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)

     Between the time of 3-16-2022 and 5-9-2022 the superintendent Corey Fhuere could have
     and should have intervened and clarified that various color religious head coverings are in
     no way shape or form a security issue, and the inmates are to be left alone about wearing
     them. Furthermore the superintendent Corey Fhuere had a responsibility to ensure
     compliance with past out-of-court settlements between inmates and ODOC are upheld and
     complied with. His malfeasance has resulted in my harassment and persecution of my
     religious observance.


     K. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)

     ODOC's malfeasance to comply with past out-of-court settlements has resulted in my
     harassment, and reduced observance of my religious practices.

     L. What are the facts underlining your claim(s)? (For example: what happened to
        you? Who did what? Was anyone else involved? Who all saw what happened?)




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             I approached the law library front desk and explained that I was indigent and
       attempted to procure indigent envelopes and indigent copies so I can mail out my clemency
       as I had done in the past expecting that it would be charged to my inmate trust account as is
       the normal procedure for indigent envelopes and copies. However the law library
       coordinator Ms. Polk decided to refuse to allow me copies and engine envelopes preventing
       me from attempting to secure an opportunity for clemency as I have done in the past.

       M. What are the facts underlining your claim(s)? (For example: what happened to
          you? Who did what? Was anyone else involved? Who all saw what happened?)

            While I was in segregation I requested access to my law library flash drive pursuant to
            the OAR's that a lot for law library coordinator Ms. Polk not only refused to provide
            me with my Access to my flash drive she also refused to provide me with the legal mail
            request receipt so as to attempt to ensure that I would have the ability to prove that my
            constitutional rights are being flagrantly violated.

       N. What are the facts underlining your claim(s)? (For example: what happened to
          you? Who did what? Was anyone else involved? Who all saw what happened?)

       On or about I was sitting down on my bed waiting for mail when I received open legal mail
       from the federal courthouse that had been clearly held based on the postmark date and
       opened prior to me receiving it with a label that stated it wasn't legal mail.

       0.     What are the facts underlining your claim(s)? (For example: what happened to
            you? Who did what? Was anyone else involved? Who all saw what happened?)

       On or about 11 -8-2021 my legal file and motions erased from my laptop by the law
       library coordinator.

       P. What are the facts underlining your claim(s)? (For example: what happened to
          you? Who did what? Was anyone else involved? Who all saw what happened?)

       On or about 9 - 6 -2022 at about 3:06 PM I received mail postmarked September 1, 2022
       the mail was legal mail


VI.    Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statues. If requesting money damages, include the amounts of any actual damages and/or
punitive damages claim for the acts alleged. Explain the basis for these claims.

      1) I am seeking punitive damages of $250,000. ODOC has already reached at least two out-
         of-court settlements for the same general issue. One settlement was for 40,000 and the
         other settlement was for 50,000 related to religious headgear. Part of the settlement was
         an agreement to not harass inmates or their visitors related to their religious attire.




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     2) I am also asking that the correctional staff leave me alone about the color of my
        Kofi's/religious hat's.

     3) I want the mailroom to stop opening my legal mail.

     4) And I want the mailroom to stop holding my legal mail including but not limited to
        preventing it from being sent out of the institution.


VII. exhaustion of administrative remedies administrative procedures

The prison litigation Reform Act ("PLRA"), 42 USC 1997e(a), requires that "[n]o action shall be
brought with respect to prison conditions under section 1983 of this title, or any other federal
law, by a person confined in any jail, prison, or other correctional facility unless such
administrative remedies as are available are exhausted."


A. did your claim(s) arise while you were confined in a jail, prison, or other correctional
facility?

       Yes.



If yes, name the jail, prison, or other correctional facility where you were confined at the time of
the events giving rise to your claim(s).

I was at the Oregon State penitentiary located at 2605 State Street Salem, OR 97310.


B.
              Does the jail, prison, or other correctional facility where your claim(s) arose have a
              grievance procedure?

           Yes.



C. Does the grievance procedure at the jail, prison, or other correctional facility where your
claim(s) arose cover some or all of your claims?

           Yes.


If yes, which claim(s)?




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My grievance covers the claims but it only has a maximum of 12 lines to voice your grievance.
     I also have a neurological disability that limits my ability to hand write the grievance.


D. did you file a grievance in the jail, prison or other correctional facility where your claims
arose concerning the facts relating to your complaint?

         Yes




     If you did file a grievance:

     1. Where did you file the grievance?

     Oregon State penitentiary 2605 State Street Salem Oregon 97310


     2. What did you claim in your grievance?

     I explained for the second time in less than one week I was given a direct order to remove
     my Kofi/religious hat or head cover because the Sgt. Doesn't like my yellow Kofi in
     public.
     Even with the limited space in the grievance process I went on to explain some of what he
     had told me such as the only color we were allowed to wear was white despite the fact no
     other Muslims were being prevented from wearing any of the other colored Kofi's. I went
     on to explain all the different colors being worn such as black, white, gray, blue, brown.
     Then I went on to explain that they were provided to us by the Department of Corrections
     vendors and chapel services. I explained that this has not been a problem for several years
     the only reason he claimed he was messing with me was as a result of an email that he said
     the only color I could wear was a white one.

      My requested resolution in the grievance was very simple I just asked that I be left alone
      about the color of my Kofi/religious hat.

      I explained it's the law library coordinator's job to make sure legal kites are delivered and
responded to in a timely manner. I explained in another grievance that I couldn't get indigent
legal envelopes and copies because according to the law library indigent inmates can send out
clemency petitions. In a separate grievance I went on to explain in accordance with other OAR's
I was allowed to have access to my flash drive. Then last but not least when I grieved the
mailroom I went on to explain that my mail being opened and held and labeled not legal, the
simple solution asking them to stop messing with my legal mail.

      3. What was the result, if any?




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     Even after acknowledging when I spoke to the grievance coordinator in passing about my
     grievance that the grievance coordinator had seen multiple conflicting memos and emails
     he decided to dismiss my grievance claiming:
     My grievance has not demonstrated how it qualifies under OAR 291-109-0210 for this
     issue to be grieved. It was a standard response claiming the grievance did not demonstrate
     misapplication of departmental policy, rule, or directives, unprofessional actions of
     department employees, volunteers, or contractors, etc. etc.
     All the other grievances were the standard excuses justifying actions or just outright
     denying everything.

     4. What steps, if any, did you take to appeal that decision? Is the grievance process
        completed? If not, explain why not.       (Describe all efforts to appeal to the
        highest level of the grievance process.)

I filled out a grievance appeal explaining if ODOC makes a mistake in the grievance appeal
process and incorrectly denied a grievance is my responsibility to point it out to give ODOC a
chance to remedy the problem.
The grievance officer decided he was still going to deny the grievance.
Where is all the other grievances were the same standard failure to take responsibility for their
actions.

So for purposes of full exhaustion in accordance with The prison litigation Reform Act
("PLRA"), 42 USC 1997e(a)
I filled out another appeals attempting to give ODOC every opportunity to remedy the issue
rather than summarily dismissing the grievance. I even spoke face-to-face with the grievance
coordinator and wrote him a kite explaining my intent was to fully exhaust the grievance process
to no avail.
I went out of my way to fully exhaust my administrative process pursuant to the prison litigation
Reform Act ("PLRA"), 42 USC 1997e(a)




      Q. Please set forth any additional information that is relevant to the exhaustion of
         your administrative remedies.

      1) I requested copies of various memos being passed around by the chaplain clerk in
         Islamic services printed by chaplain Thompson that conflicted with the narrative that
         was being perpetuated.
      2) The chaplain clerk told me I couldn't have a copy of the memos.
      3) I spoke face-to-face with the hearings officer in advance pointing out how insane it is
         that I would get a disciplinary right up wearing my religious head covering because of
         the color, and because the correctional officer claimed that I could try to escape with it.
      4) I spoke with my counselor about this offensive and egregious deprivation of my First
         Amendment right.




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        5) I wrote kites to all parties involved to no avail.
        6) I even sent a letter to the department of public safety standards and training attempting
           to address this issue. Once again to know avail.
        7) I tried talking face-to-face when they pick up the mail on the control floor.
        8) I tried talking to Ms. Polk about mailing out my clemency and how this had never been
           a problem before.
        9) I asked correctional officers to sign the envelopes when they were delivered reopened.


(Note: you may attach as exhibits to this complaint any documents related to the
exhaustion of your administrative remedies.)



VIII.         Previous lawsuits


The "three strike rule" bars a prisoner from bringing a civil action or any appeal in federal court
without pain the filing fee if that prisoner has "on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United States
that was dismissed on the grounds that it is frivolous, malicious, or false to state a claim upon
which relief may be granted unless the prisoner went danger of serious physical injury." 28
U.S.C. § 1915 (g).

To the best of my knowledge, have you had a case dismissed based on this "three strike rule"?

        yes



If yes, state which dismissed her case when this occurred, and attach a copy of the order if
possible.

The lawsuit was dismissed because I owed money to the federal courts for previous suits. It was
paid with the stimulus checks.

A. have you filed other lawsuits in state or federal court dealing with the same facts involved
in this action?



        No




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IX.   Certification and closing

       Under Federal Rules of Civil Procedure 11, by signing below, I certify to the best of my
knowledge information and belief that this complaint: (1 )is not being presented for an improper
purpose such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have eventually supported or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and 4 complaint otherwise complies with the requirements of rule 11.




A.    four parties without an attorney

      I agree to provide the clerk's office any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the clerk's
office may result in the dismissal of my case.

Date of signing:


Signature of plaintiff

Printed name of plaintiff       Shua Tilahun

Prison identification #         15493938




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Prison address        OSP 2605 State Street Salem, OR 97310




Dated this 21 day of   De.ce,41bet
                       •
                                                 Respectfully Submitted,




                                                 (Signature)
                                                 Print Name: Shua Tilahun Pro Se'
                                                        SID#: 15493938
                                                        OSP2605 State Street
                                                        Salem, OR 97310




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